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 1   BENJAMIN B. WAGNER
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 2   KAREN A. ESCOBAR
     Assistant U.S. Attorney
 3   2500 Tulare Street
     Fresno, California 9372l
 4   Telephone: (559) 497-4000

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 8                 IN THE UNITED STATES DISTRICT COURT FOR THE

 9                        EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          )        1:08-cr-0124 OWW
                                        )
12                  Plaintiff,          )
                                        )
13        v.                            )        STIPULATION RE:
                                        )        CONTINUANCE AND ORDER
14   REYES CHAPARRO-FLORES,             )
                                        )
15                                      )
                    Defendant.          )
16   ___________________________________)

17          Defendant REYES CHAPARRO-FLORES, by and through his attorney,

18   LARRY LEE, and the United States of America, by and through its

19   attorneys, BENJAMIN B. WAGNER, United States Attorney, and KAREN

20   A. ESCOBAR, Assistant United States Attorney, hereby enter into

21   the following stipulation:

22          1.   The parties to the above-captioned matter agree to vacate

23   the August 30, 2010, sentencing date and reset the matter for

24   September 13, 2010, at 9:00 a.m.

25          2.   The parties stipulate that the continuance is

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 1   necessitated at the request of the defendant by the defendant’s

 2   need to prepare adequately for sentencing.

 3   DATED: August 23, 2010                       Respectfully submitted,

 4                                                BENJAMIN B. WAGNER
                                                  United States Attorney
 5
                                                  By: /s/ Karen A. Escobar
 6                                                  KAREN A. ESCOBAR
                                                  Assistant U.S. Attorney
 7

 8                                                 /s/ Larry Lee
                                                   LARRY LEE
 9                                            Attorney for Defendant
                                                   REYES CHAPARRO-FLORES
10
                                   O R D E R
11
          Having read and considered the foregoing stipulation,
12
          IT IS THE ORDER of the Court that the current sentencing date
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     of August 30, 2010, is hereby vacated and is reset for September
14
     13, 2010, at 9:00 a.m.
15
                                 IT IS SO ORDERED.
16
     Dated: August 26, 2010                 /s/ Oliver W. Wanger
17   emm0d6                            UNITED STATES DISTRICT JUDGE

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